Case 3:10-cv-00726-REP Document 1 Filed 10/07/10 Page 1 of 7 PageID# 1
Case 3:10-cv-00726-REP Document 1 Filed 10/07/10 Page 2 of 7 PageID# 2
Case 3:10-cv-00726-REP Document 1 Filed 10/07/10 Page 3 of 7 PageID# 3
Case 3:10-cv-00726-REP Document 1 Filed 10/07/10 Page 4 of 7 PageID# 4
Case 3:10-cv-00726-REP Document 1 Filed 10/07/10 Page 5 of 7 PageID# 5
Case 3:10-cv-00726-REP Document 1 Filed 10/07/10 Page 6 of 7 PageID# 6
Case 3:10-cv-00726-REP Document 1 Filed 10/07/10 Page 7 of 7 PageID# 7
